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  US 8,671,195 B2 vs Dexcom G7 Continuous Glucose Monitoring (CGM) System
Key Features of US 8,671,195 B2                           Product (Dexcom G7 Continuous Glucose Monitoring (CGM) System)

Claim 17. A       digital media This G7 User Guide introduces you to the display device screens, leads you through making treatment decisions,
communication            protocol, and shows you how to move to your next sensor session. Each sensor session lasts up to 10 days with a 12-hour
comprising:                        grace period at the end. In addition, this guide shows you where to customize your alert sounds, how to get your
                                   glucose information to your support team, how to make a second alert profile in your app, and much more. Images
                                   are representational. Your display device screens and components may look different. The app runs on both
                                   Android and Apple smart devices. For supported smart devices and operating systems, go to
                                   dexcom.com/compatibility.
                                     New since G6
                                     New features include:
                                     All new components and app
                                     New alert sounds and sound options
                                     Glucose summary reports on your display device
                                     Source: [LINK 1]
                                     Product discloses about digital media communication protocol (i.e. Dexcom G7 Continuous Glucose Monitoring
                                     (CGM) System) which runs on media (i.e. android and apple).

17.1 at least one media terminal     Share and Follow safety statements
and at least one media node
                                     Important user information
disposed in an accessible relation
with at least one interactive        Dexcom Share (Share) lets you send your sensor information from your app to your Followers’ smart devices
computer network,                    (Dexcom Follow app). Read the important user information and warnings below to find out how you can safely use
                                     this app feature.
                                     Secure internet:
                                                        Claim Chart– US 8,671,195 B2 vs Dexcom G7 Continuous Glucose Monitoring (CGM) System
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Key Features of US 8,671,195 B2                            Product (Dexcom G7 Continuous Glucose Monitoring (CGM) System)
                                     Only use a cellular internet connection, a trusted Wi-Fi network (like your home or office), or use a secure
                                     internet connection such as a VPN service when using your G7 system.
                                     Source: [LINK 1]
                                     The evidence discloses Media Terminal (Dexcom Share app) which lets you share your information with other user
                                     device who follows you by using Media Node (Dexcom Follow app). The connection is established via interactive
                                     computer network (like internet connection, a trusted Wi-Fi network or a secure internet VPN connection).

17.2 at least one digital media file A sensor inserted under the skin checks glucose levels in interstitial fluid and sends sensor readings to a display
initially disposed on at least one device.
of said media terminal or said
                                     A device with a screen used for monitoring your glucose information and alerts, for example, a smartphone app
media node,
                                     or the Dexcom receiver.
                                     Share and Follow safety statements
                                     Important user information
                                     Dexcom Share (Share) lets you send your sensor information from your app to your Followers’ smart devices
                                     (Dexcom Follow app). Read the important user information and warnings below to find out how you can safely use
                                     this app feature.
                                     Source: [LINK 1]
                                     The evidence discloses a Dexcom sensor which is inserted into user body and sensor collects that digital media file
                                     (sensor readings) and share with the at least one of media terminal (Dexcom receiver app). The sensor readings
                                     includes the glucose level of the user.

17.3 said at least one media Share and Follow Use the app's Share feature to let friends and family members view your glucose information.
terminal structured to detect said Share sends your information every 5 minutes — almost as soon as you get it. Always treat using the primary G7
at least one media node,           app, not the Follow app.
                                     Invite Followers




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                                                          Claim Chart– US 8,671,195 B2 vs Dexcom G7 Continuous Glucose Monitoring (CGM) System
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Key Features of US 8,671,195 B2                             Product (Dexcom G7 Continuous Glucose Monitoring (CGM) System)
                                      Choose friends, family, or another trusted caregiver to follow you. You can give them access to just your sensor
                                      reading and trend arrow, or include the trend graph. You can even set up glucose notifications for them to get
                                      when your glucose goes high or low, similar to the alerts you get on your G7 app. You're in control. You can edit,
                                      stop sharing with, or remove a Follower any time.
                                      Your Followers don't need to have the G7 app on their smart devices. They only need to download the Dexcom
                                      Follow app (Follow).
                                      Dexcom Follow app
                                      The Follower gets the invitation email with instructions. Using their phone or iPad, the Follower must open the
                                      email and use the link in it to install the Dexcom Follow app (if it's not already installed) and accept the Sharer's
                                      invitation.
                                      Source: [LINK 1]
                                      The evidence discloses Media terminal (Dexcom Share app) and Media node (Dexcom Follow app) features where
                                      user can share their sensor information. The user who is sharing the data should have Share app on their media
                                      terminal and the user who is getting the information should have Follow app in their media node so that they have
                                      proper flow of information.

17.4 a communication link             Share and Follow Use the app's Share feature to let friends and family members view your glucose information.
structured to dispose said at least   Share sends your information every 5 minutes — almost as soon as you get it. Always treat using the primary G7
one media terminal and said at        app, not the Follow app.
least one media node in a
                                      Invite Followers
communicative relation with one
another via said interactive          Choose friends, family, or another trusted caregiver to follow you. You can give them access to just your sensor
computer network,                     reading and trend arrow, or include the trend graph. You can even set up glucose notifications for them to get
                                      when your glucose goes high or low, similar to the alerts you get on your G7 app. You're in control. You can edit,
                                      stop sharing with, or remove a Follower any time.
                                      Your Followers don't need to have the G7 app on their smart devices. They only need to download the Dexcom
                                      Follow app (Follow).




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Key Features of US 8,671,195 B2                          Product (Dexcom G7 Continuous Glucose Monitoring (CGM) System)
                                   Dexcom Follow app
                                   The Follower gets the invitation email with instructions. Using their phone or iPad, the Follower must open the
                                   email and use the link in it to install the Dexcom Follow app (if it's not already installed) and accept the Sharer's
                                   invitation.
                                   Secure internet:
                                   Only use a cellular internet connection, a trusted Wi-Fi network (like your home or office), or use a secure
                                   internet connection such as a VPN service when using your G7 system.
                                   Source: [LINK 1]
                                   The evidence discloses Media terminal (Dexcom Share app) and Media node (Dexcom Follow app) where user can
                                   share their sensor information to other users. The user who is sharing the data should have Share app in their Media
                                   terminal and the user who is getting the information should have Follow app in their Media node so that they have
                                   interactive flow of information. The communication link used to share information is internet, trusted Wi-Fi, or any
                                   secured internet VPN connection.

17.5 said communication link Share and Follow Use the app's Share feature to let friends and family members view your glucose information.
being initiated by said at least one Share sends your information every 5 minutes — almost as soon as you get it. Always treat using the primary G7
media terminal,                      app, not the Follow app.
                                   Dexcom Follow app
                                   The Follower gets the invitation email with instructions. Using their phone or iPad, the Follower must open the
                                   email and use the link in it to install the Dexcom Follow app (if it's not already installed) and accept the Sharer's
                                   invitation.
                                   Source: [LINK 1]
                                   The evidence discloses Media terminal (Dexcom Share app) which initiates an invitation to the follower to see their
                                   glucose information. The invitation includes the a link and instructions to download the Follow app which will help
                                   in establishing a good communication flow with the Media terminal (Dexcom Share app) and Media node (Dexcom
                                   Follow app).




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Key Features of US 8,671,195 B2                               Product (Dexcom G7 Continuous Glucose Monitoring (CGM) System)

17.6 said at least one media node      Share and Follow Use the app's Share feature to let friends and family members view your glucose information.
and said at least one media            Share sends your information every 5 minutes — almost as soon as you get it. Always treat using the primary G7
terminal structured to transmit        app, not the Follow app.
said at least one digital media file
                                       Invite Followers
therebetween          via      said
communication link, wherein            Choose friends, family, or another trusted caregiver to follow you. You can give them access to just your sensor
                                       reading and trend arrow, or include the trend graph. You can even set up glucose notifications for them to get
                                       when your glucose goes high or low, similar to the alerts you get on your G7 app. You're in control. You can edit,
                                       stop sharing with, or remove a Follower any time.
                                       Your Followers don't need to have the G7 app on their smart devices. They only need to download the Dexcom
                                       Follow app (Follow).
                                       Dexcom Follow app
                                       The Follower gets the invitation email with instructions. Using their phone or iPad, the Follower must open the
                                       email and use the link in it to install the Dexcom Follow app (if it's not already installed) and accept the Sharer's
                                       invitation.
                                       Secure internet:
                                       Only use a cellular internet connection, a trusted Wi-Fi network (like your home or office), or use a secure
                                       internet connection such as a VPN service when using your G7 system.
                                       Source: [LINK 1]
                                       The evidence discloses Media Terminal (Dexcom Share app) and Media node (Dexcom Follow app) which lets the
                                       sharer to share their digital media file (glucose information) to their friend and family via the Share app. The friends
                                       and family should have Media node (Dexcom Follow app) to receive the digital media file (sharer information) so
                                       that they get regularly updated. The communication link used to share information is internet, trusted Wi-Fi, or any
                                       secured internet VPN connection.




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Key Features of US 8,671,195 B2                        Product (Dexcom G7 Continuous Glucose Monitoring (CGM) System)

17.7 said communication link is About Dexcom Clarity Dexcom Clarity is a software program that allows the transfer of glucose data from a
structured to bypass at least one Dexcom CGM system to Dexcom remote servers for data management to assist in the use of the Dexcom CGM
media terminal security measure. system and to assist in healthcare services. Dexcom Clarity can transfer and manage data from the Dexcom G5
                                  Mobile CGM System, Dexcom G6 CGM System (Dexcom G6), and Dexcom G7 CGM System (Dexcom G7) (where
                                  available), all of which are referred to as Dexcom CGM systems.
                                  Source:https://productstore.clarity.dexcom.com/Documentation/en/Dexcom_Clarity_User_Guide_Home_User.p
                                  df
                                  Accept an Invitation to Share Data
                                  A healthcare professional uses their Dexcom Clarity account to invite you to share data with their clinic. They
                                  will provide the invitation in print or by email. The invitation includes a sharing code that you enter on your
                                  Dexcom Clarity Settings page to accept the invitation before the expiration date shown. Once you have
                                  completed the acceptance, your account and the clinic’s account will automatically share data between them. You
                                  can accept the invitation from an internet browser or from a smart device with the Dexcom Clarity app.
                                  Source:https://productstore.clarity.dexcom.com/Documentation/en/Dexcom_Clarity_User_Guide_Home_User.p
                                  df
                                  The evidence discloses Dexcom clarity which is a software program that lets users to share their data with the
                                  professional health care via their Media terminal (Dexcom G7 CGM system). The professional clinic sends an invite
                                  to the user media terminal (Dexcom G7) to get their sensor information with a unique security code. The user from
                                  their media terminal (Dexcom G7) enters that unique code and gives access to the professional clinic about their
                                  sensor data. The Dexcom clarity software program uses a high speed internet connection for the communication
                                  link between user media terminal (Dexcom G7) and professional clinic.




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